                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

GLENDA PIPER,                                        )
                                                     )
       Plaintiff,                                    )
                                                     )
vs.                                                  )
                                                     )
                                                     )
PRUDENTIAL INSURANCE COMPANY                         )
OF AMERICA,                                          )
                                                     )
       Defendant.                                    )

                                         COMPLAINT

       COMES NOW Plaintiff, Glenda Piper, and for her claims and causes of action against

Defendant, Prudential Insurance Company of America, states as follows:

                                            PARTIES

1.     Glenda Piper (“Piper”) is a resident and citizen of the State of Missouri.

2.     Defendant Prudential Insurance Company of America (“Prudential”) is an out-of-state

       insurance company authorized to do business in the State of Missouri. The Commissioner

       of the Missouri Department of Insurance is authorized to accept service of process on

       behalf of Prudential.

                                 JURISDICTION AND VENUE

3.     Piper brings her claim pursuant to ERISA and 29 U.S.C. § 1001 et seq.

4.     This dispute is governed by a welfare benefits plan and its policy documents, as well as

       applicable federal law regarding employer provided benefits. 29 U.S.C. § 1132(e)(1).

5.     This Court also has subject matter jurisdiction pursuant to the general jurisdictional

       statute for civil actions arising under federal law. 28 U.S.C. § 1331.

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6.    Venue lies in the Western District of Missouri under 29 U.S.C. § 1332(e)(2), as the

      breach occurred in this district, and because the welfare benefits plan is administered in

      this district.

7.    Venue is also proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

      events and/or omissions giving rise to this action occurred within this judicial district.

                            INFORMATION REGARDING TRIAL

8.    No jury trial is allowed under ERISA law.

                                   STATEMENTS OF FACT

9.    Piper worked for State Street as an Accounting Assistant/Specialist II.

10.   Unfortunately, during Piper’s employment, she became unable to perform the duties of

      her job due to a combination of physical conditions. Piper’s last day of employment was

      on July 31, 2017.

11.   Piper’s physical issues arise from arthritis, carpal tunnel, Fuchs dystrophy, glaucoma and

      plantar fasciitis.

12.   State Street sponsored a group long-term disability (“LTD”) benefits plan (“Plan”) for its

      participating employees.

13.   The Plan constitutes employee welfare benefit plans as defined by 29 U.S.C. § 1002 (1).

14.   The Plan offered disability benefits to qualifying State Street’s employee Plan

      participants.

15.   At all relevant times, Piper has been a participant and covered person under the terms of

      the Plan.

16.   Prudential is the administrator of the Plan.




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17.   State Street delegated or attempted to delegate the function of issuing LTD claim

      determinations to Prudential.

18.   State Street and Prudential entered into an administrative services contract through which

      State Street paid Prudential for acting as claims administrator.

19.   On April 14, 2021, Piper’s counsel requested Plan Documents, including applicable LTD

      policies, from State Street. In response, State Street produced an LTD Certificate,

      identifying Prudential as the insurer and claims administrator. Based on this information,

      Piper’s counsel initiated an LTD claim over the phone.

20.   On June 25, 2021, Prudential acknowledged Piper’s claim in writing and requested

      information about Piper’s claim. The request included blank forms.

21.   On August 19, 2021, Piper provided Prudential with a total of 27 pages of documents.

      These documents included a completed and signed “Comprehensive Claimant Statement”

      and an SSD “Statement of Claimant,” A Legal Representation Agreement, an “Adult

      Function Report,” and a full list of Piper’s health care providers and dates of treatment

      with each.

22.   On September 2, 2021, Prudential issued a written denial of Piper’s claim.

23.   On September 3, 2021, Piper’s counsel requested a full and complete copy of Piper’s

      claim file and any other documentation Prudential considered, reviewed, or relied upon in

      determining Piper’s LTD claim.

24.   On September 22, 2021, Prudential sent Piper’s counsel 65 pages of what it represented

      was Piper’s complete claim file.




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25.   The claim file Prudential produced was grossly inadequate and incomplete. Prudential

      withheld documents from the claim file. Documents that were provided to Prudential by

      Piper were not contained in the documents Prudential produced.

26.   The claim file produced on September 22, 2021 also did not include information about

      Piper’s health care providers that had been supplied to Prudential.

27.   On February 25, 2022, Counsel for Piper submitted a timely appeal of Prudential’s denial

      of her LTD claim.

28.   The Plan and Policy articulate the conditions under which a Plan Participant is entitled to

      LTD benefits.

29.   It states:




30.   Piper was employed as an Account Specialist II at the time she became disabled and

      unable to work.

31.   She has described the physical requirements of her occupation, in part, as follows:




32.   Piper was frequently required to rise from her seated position and walk and stand to

      complete a variety of office tasks.

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33.   Piper’s occupation involved a significant amount of computer and paperwork, requiring

      visual acuity and visual stamina.

34.   Piper provided sufficient proof of her loss, including but not limited to medical and

      hospital records, pharmacy records, fully executed claim forms, and authorizations

      enabling Prudential to obtain without restriction her medical records and employment

      records.

35.   The sole basis for Prudential’s denial is that it did not believe any evidence existed to

      support a conclusion that Piper became “disabled” while still employed with State Street,

      or before July 31, 2017.

36.   During its “investigation” of Piper’s claim, Prudential did not request a single record

      from any of the several health care providers Piper identified to Prudential before it

      denied her claim. Had it done so, it would have received evidence directly contradicting

      the stated basis for its denial – the lack of pre-July 31, 2017 medical evidence.

37.   Piper has at all relevant times met the definition of “Disability or Disabled” under the

      Plan and is entitled to benefits.

38.   Piper has exhausted her administrative remedies.

                                          CAUSES OF ACTION

                                             COUNT I
                        29 U.S.C. § 1132(a)(1)(B) – WRONGFUL DENIAL OF
                                               BENEFITS

39.   Piper realleges the preceding paragraphs as if fully set forth herein.

40.   Piper is entitled to all unpaid and accrued LTD benefits, as Prudential:

          a. Made an unfavorable decision without substantial evidence;




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          b. Failed to properly consider Piper’s medical impairments and resulting limitations;

             and

          c. Issued an unfavorable decision that was arbitrary and capricious.


41.   Pursuant to 29 U.S.C. § 1132(a)(1)(b), Piper is entitled to an award of actual damages for

      losses suffered.

42.   Pursuant to 29 U.S.C. § 1132(g), judgment may include compensation for a beneficiary’s

      attorney’s fees, costs, and prejudgment interest.

43.   Prudential has not satisfied its obligation to pay Piper’s LTD benefits.

44.   WHEREFORE, pursuant to 29 U.S.C. § 1132(a)(1)(B) and 29 U.S.C. § 1132(g), Piper

      prays for judgment against Prudential for unpaid LTD benefits, attorney’s fees, costs, and

      prejudgment interest.

                                            COUNT II
                     29 U.S.C. § 1132(a)(3) – BREACH OF FIDUCIARY DUTY

45.   Piper realleges the preceding paragraphs as if fully set forth herein.

46.   Under 29 U.S.C. § 1002(21)(A), a fiduciary is one who:

          “exercises any discretionary authority or discretionary control respecting
          management of such plan or exercises any authority or control respecting
          management or disposition of its assets, (ii) he renders investment advice
          for a fee or other compensation, direct or indirect, with respect to any
          moneys or other property or such plan, or has any authority or
          responsibility to do so, or (iii) he has any discretionary authority or
          discretionary responsibility in the administration of such plan.”

47.   29 U.S.C. § 1104(a)(1)(A) describes the fiduciary standard of care:

          “a fiduciary shall discharge her duties with respect to a plan solely in the
          interest of the participants and beneficiaries and – for the exclusive
          purpose of: (i) providing benefits to participants and their beneficiaries;
          and (ii) defraying reasonable expenses of administering the plan.”

48.   Prudential, the Plan’s designated claims administrator, is a fiduciary.


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49.   Piper participated in and benefitted from the Plan as previously indicated.

50.   Prudential’s claims management practices are motivated by financial incentives in its

      administrative services agreement with State Street.

51.   As the payor of benefits and the entity responsible for exercising discretion in claims

      administration, Prudential operates under an inherent conflict of interest.

52.   A higher than marketplace quality standard, as set forth in Metropolitan Life Ins. Co. v.

      Glenn, 554 U.S. 105, 128 (2008) governs the actions of a fiduciary.

53.   Prudential breached its fiduciary duty in:

          a. Failing to comply with its internal guidelines and claims handling procedures. Its

              claim handlers did not comply with documented instructions involving the

              administration of disability claims, including its procedures involving coverage

              and eligibility determinations;

          b. Engaging in a structural conflict of interest by assuming the role of both claims

              administrator and payor of benefits;

          c. Failing to produce to Piper a full and complete copy of her claim file and/or any

              other documents relevant to the denial of her claim; and

          d. Refusing to utilize fully executed authorizations to attempt to obtain evidence

              relevant to Piper’s claim for benefits;

54.   Prudential denied Piper’s LTD benefits for the purpose of elevating its financial interests.

      In doing so, it breached its fiduciary duties.

55.   Prudential failed to discharge its duties solely in the interests of its participants and

      beneficiaries. It acted with both a conflict of interest and breached its fiduciary duty to

      both Piper and the Plan’s participants and beneficiaries generally.



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56.   Prudential’s improper conduct demonstrates that ordinary relief under § 1132(a)(1)(B) is

      not an adequate remedy.

57.   Prudential’s violations of regulations alone allow Piper the right to pursue any remedy

      under Section 502(a) of ERISA, including § 1132(a)(3). 29 C.F.R. § 2560.503-1(1)(2)(i).

58.   Prudential’s violations of federal regulation also subject its decision to de novo review.

59.   WHEREFORE, pursuant to 29 U.S.C. § 1132(a)(3), § 1109, and § 1132(a)(2), Piper

      prays for an order that Prudential retrain its employees consistent with ERISA fiduciary

      obligations and federal regulations; for reformation of its services agreement with the

      plan administrator consistent with ERISA fiduciary obligations and federal regulations;

      for an injunction preventing further unlawful acts by Prudential in its fiduciary capacity;

      for an equitable accounting of benefits that Prudential has withheld; for the disgorgement

      of profits enjoyed by Prudential in withholding benefits; for restitution under a theory of

      surcharge; for the Court’s imposition of a constructive trust; for an award of attorney

      fees; and for further relief as the Court deems just.

                                     Respectfully submitted,

                                     BURNETTDRISKILL, Attorneys

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